            Case 1:18-cv-07658-PKC Document 24 Filed 12/04/18 Page 1of4
            Case 1:18-cv-07658-PKC Document 29 Filed 02/05/19 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 TAKE-TWO INTERACTIVE SOFTWARE                      CASE NO. 1:18-cv-07658 (PKC)
 INC.,

                         Plaintiff,
                                                    [         ] ORDER GRANTING
        v.                                          PLAINTIFF TAKE-TWO
                                                    INTERACTIVE SOFTWARE, INC.'S
 JHONNY PEREZ,                                      MOTION FOR DEFAULT JUDGMENT

                         Defendant.


       THIS CAUSE is before the Court on Plaintiff Take-Two Interactive Software, Inc. 's

("Take-Two") Motion for Default Judgment (the "Motion") against Defendant Jhonny Perez

("Mr. Perez"). Having considered the Motion, the Court hereby finds as follows:

       1.        This Court has subject matter jurisdiction over Take-Two's copyright claims

pursuant to 28 U.S.C. §§ 1331 and 1338. This Court also has supplemental jurisdiction over

Take-Two's state law claims pursuant to 28 U.S.C. § 1367(a) because those claims are

substantially related to Take-Two's federal claims.

       2.        This Court has personal jurisdiction over Mr. Perez and venue is proper in this

District, because, among other things, Mr. Perez consented to personal jurisdiction and venue in

this District via his agreement to the forum selection provision contained in Take-Two's User

Agreement.

       3.        Take-Two's Complaint states claims for direct and contributory copyright

infringement in violation of 17 U .S.C. § 101 et seq., breach of contract, and tortious interference

with contract.

       4.        Mr. Perez has failed to answer or otherwise defend against Take-Two's

Complaint in this actlon.
                                                 - 1-
            Case 1:18-cv-07658-PKC Document 24 Filed 12/04/18 Page 2 at 4
            Case 1:18-cv-07658-PKC Document 29 Filed 02/05/19 Page 2 of 4



       5.       A Certificate of Default was issued on November 21, 2018. (Dkt. No. 19).

       6.       Mr. Perez is not a minor, incompetent person, or in active military service.

       7.       By reason of default, Mr. Perez has admitted the truth of the allegations in Take-

Two 's Complaint.

       8.       Take-Two has been irreparably harmed by Mr. Perez's infringing conduct and

will continue to be harmed unless enjoined. First, Mr. Perez's Elusive program (the "Infringing

Program") creates new features and elements in Grand Theft Auto which can be used to harm

legitimate players, causing Take-Two to lose control over its carefully balanced plan for how its

video game is designed to be played. Second, the Infringing Program harms Take-Two's

reputation for maintaining its gaming environment, discouraging users from future purchases and

gameplay. Third, because the Infringing Program allows its users to create unlimited virtual

currency-which can then be used to purchase in-game items in Take-Two's game-it

undermines Take-Two's pricing and sales oflegitimate virtual currency. These harms are not

quantifiable. Take-Two has no way of knowing how much revenue it has lost and will continue

to lose as a result of Mr. Perez's Infringing Program.

       9.       The balance of hardships favors Take-Two. In contrast to the harm that Take-

Two will suffer, there is no evidence of any injury to Mr. Perez. In particular, the inability to

continue infringing a copyrighted work is not a legally cognizable harm. See e.g.,

SimplexGrinnell LP v. Integrated Sys. & Power, Inc., 642 F. Supp. 2d 167, 197 (S.D.N.Y. 2009).

Thus, there will be no injury to Mr. Perez caused by entry of a permanent injunction requiring

Mr. Perez to cease his infringing conduct.

       10.      Entry of a permanent injunction against Mr. Perez is in the public interest.




                                                -2-
          Case 1:18-cv-07658-PKC Document 24 Filed 12/04/18 Page 3 of 4
             Case 1:18-cv-07658-PKC Document 29 Filed 02/05/19 Page 3 of 4



NOW, THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED THAT:

       (a)      Under Count I of the Complaint, Mr. Perez is liable to Take-Two for willfully and

directly infringing Take-Two's copyrights in GTAV.

       (b)      Under Count II of the Complaint, Mr. Perez is liable to Take-Two for willfully

and contributorily infringing Take-Two's copyrights in GTAV.

       (c)      Under Count III of the Complaint, Mr. Perez is liable to Take-Two for breach of

Take-Two's User Agreement.

       (d)      Under Count IV of the Complaint, Mr. Perez is liable to Take-Two for tortious

interference with Take-Two's contracts with its other GTAV players.

              Mr. Perez is ordered to pay to Take-Two the sum of $150,000.00 in statutory
                                                l,61 gtJ.fJ: ~
damages, pursuant to 17 U.S.C. § 504(c)(2), an             in attorney's fees, pursuant to 17

U.S.C. § 505 for which let execution issue forthwith.

       (f)      Mr. Perez and all persons, firms, and corporations acting in concert with him are

permanently enjoined and restrained from directly or indirectly infringing Take-Two's

copyrights, including, but not limited to, (a) creating derivative works based upon any portion of

Take-Two's video games, including Grand Theft Auto V; (b) producing or distributing any

computer programs that alter Take-Two's games, including without limitation Elusive; and

(c) from participating or assisting in any such activities.

       (g)      This Order shall take effect immediately.

       (h)      The Court shall retain jurisdiction to entertain such further proceedings and to

enter such further orders as may be necessary or appropriate to implement and/or enforce the

provisions of this Order.

       (i)      The Clerk is directed to terminate the Motion and close the case.



                                                 -3-
      Case 1:18-cv-07658-PKC Document 24 Filed 12/04/18 Page 4 ot 4
       Case 1:18-cv-07658-PKC Document 29 Filed 02/05/19 Page 4 of 4




                       })~        ~~ ,?:~.q
DONE AND ORDERED this :_J__ day of __~----+---· ~~.




                                             United States District Judge




                                   -4-
